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 6
 7   ATTORNEYS FOR DEFENDANT
 8   Jorge Eguiluz

 9
10                     IN THE UNITED STATES DISTRICT COURT
11                   FOR THE EASTERN DISCTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA                   CASE NO. 2:17-cr-00053-JAM
13                             Plaintiff,
14                                              STIPULATION TO MODIFYING TRAVEL
     vs.                                        RESTRICTIONS, TEMPORARY RELEASE
15                                              OF PASSPORT AND PROPOSED ORDER
      JORGE EGUILUZ,
16
17                            Defendant.

18
19
            IT IS HEREBY stipulated by and between the United States of America
20
     through its undersigned counsel, Nirav K. Desai, Esq., Assistant United States
21
22   Attorney, and counsel for defendant Jorge Eguiluz, Donald H. Heller, Esq. that the

23   restrictions on travel previously imposed upon the defendant be modified to permit
24   the defendant to travel to and from the city of Acapulco, Country of Mexico and
25
     through connection cities in the Country of Mexico from his place of residence in
26
     Stockton, California from December 27, 2017 and returning to Stockton on January
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28

                                    1
     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
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 1   4, 2018, for the purpose of a holiday visit with defendant Jorge Eguiluz’s family
 2   residing in the Country of Mexico.
 3
              Mr. Heller had advised the defendant that the of the Notice to Defendant
 4
     Being Released executed by the defendant on April 10, 2017, remains in full force
 5
 6   and effect, specifically that it is a criminal offense under Title 18 U.S.C. §3146, if,

 7   after having been released, the defendant knowingly fails to appear as required by
 8
     the conditions of release, that the penalty for failing to appear is a term of 10 years
 9
     consecutive to the term of imprisonment for any of the federal offenses charged in
10
11   the Indictment and his wife and he are subject to the forfeiture of the sum of

12   $200,000, the sum posted by both of them to secure the defendant’s appearance.
13   The defendant had advised Mr. Heller that he fully understands the consequences of
14
     failing to appear and will appear and is appreciative of the Government’s willingness
15
16   to entertain and agree to this stipulation.

17            It is further Stipulated that the United States Passport in the name of the
18   Defendant, surrender by the Defendant to the United States District Court, presently
19
     in the possession of the Clerk of this Court, be returned by the United States District
20
     Court Clerk of this District in compliance with this Order and to be returned to the
21
22   Clerk of the Court no later than January 5, 2018.

23   IT IS SO STIPULATED.
24   Dated:     December 18, 2017                   DONALD H. HELLER,
25                                                  A Law Corporation

26                                                   /s/ Donald H. Heller

27                                                   DONALD H. HELLER
                                                     Attorney for Defendant
28                                                   Jorge Eguiluz

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     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
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 1   Dated:     December 18, 2017                  PHILLIP A. TALBERT
                                                   United States Attorney
 2
 3                                                 /s/ Nirav K. Desai by Donald H. Heller
                                                   with written authorization from Nirav K.
 4                                                 Desai.
 5                                                 NIRAV K. DESAI
 6                                                 Assistant U.S. Attorney
                                                   Attorney for the United States
 7
 8                                    PROPOSED ORDER
 9            Good cause appearing, based on the stipulation of counsel for the parties
10   stated above it is hereby Ordered that

11            1. The restrictions on travel previously imposed upon the defendant be

12   modified to permit to and from the city of Acapulco, Country of Mexico and through
     connection cities in the Country of Mexico from his place of residence in Stockton,
13
     California from December 27, 2017 and returning to Stockton on January 4, 2018,
14
     for the purpose of a holiday visit with defendant Jorge Eguiluz’s family residing in the
15
     Country of Mexico.
16
              2. The United States Passport in the name of the Defendant, previously
17   surrendered by the Defendant to the United States District Court, and presently in
18   the possession of the Clerk of this Court, be delivered to the defendant in
19   compliance with this Order at the Clerk’s office during regular business hours and
20   that said Passport be returned to the United States District Court Clerk in
21   compliance with this Order no later than January 5, 2018.
22
23   Dated: December 18, 2017

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     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
                           2:17-cr-00053-JAM
